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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  IMPLICIT, LLC,
       Plaintiff,
                                           Case No. 2:19-cv-00040-JRG-RSP
  v.
                                                     LEAD CASE
  IMPERVA, INC.
        Defendant.
  IMPLICIT, LLC,
       Plaintiff,
                                           Case No. 2:19-cv-00037-JRG-RSP
  v.

  JUNIPER NETWORKS, INC.
        Defendant.



    PLAINTIFF IMPLICIT, LLC’S SUR-REPLY IN OPPOSITION TO DEFENDANT
  JUNIPER NETWORKS, INC’S REPLY IN SUPPORT OF ITS MOTION TO TRANSFER
            VENUE TO THE DISTRICT OF DELAWARE (DKT. NO. 164)
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  I.     Introduction

         Juniper has failed to make a sufficient showing that this case should be transferred to

  Delaware under the                      the forum-selection clause for two reasons: first, it has not

  shown that it has standing to invoke the clause as a third-party beneficiary; second, it has not

  provided enough evidence of a bona fide dispute such that the forum-selection clause applies.

  Alternatively, even if the Court were to find that the forum-selection clause applies, exceptional

  circumstances involving judicial economy justify denying Juniper’s Motion to Transfer. Finally,

  even if the Court were to find that the forum-selection clause is enforceable, only certain claims

  would be subject                                forum-selection clause. In that situation, Implicit

  requests that those claims be severed into a new matter number and only that new matter be

  transferred to Delaware.

  II.    Juniper Has Not Made the Predicate Showing that It Is an Intended Third-Party
         Beneficiary of the

         To enforce the forum selection clause, Juniper must first show that it was an intended third-

  party beneficiary under Delaware law.1 See Madison Realty Partners 7, LLC v. AG ISA, LLC, No.

  CIV.A. 18094, 2001 Del. Ch. LEXIS 37, at *5 (Del. Ch. Apr. 17, 2011) (reciting three-part test).

  Juniper has not made that showing. Juniper simply assumes that it is a third-party beneficiary,

  asserting that “these rights extended to both       as well as third-party beneficiaries.” Mot, at 2.

  But, without more, Juniper’s assertion is insufficient at this stage. See ActiveVideo Networks, Inc.

  v. Verizon Communs., Inc., 694 F.3d 1312, 1336 (Fed. Cir. 2012) (finding “ambiguous language

  of the agreement” by itself insufficient to raise intended third-party beneficiary issue).



  1
    Delaware law applies to interpreting the                , including if Juniper is a third-party
  beneficiary.                                             Verde v. Stoneridge, Inc., 137 F. Supp.
  963, 977 (E.D. Tex. 2015) (“[T]he Court applies [the law selected by the agreement’s choice-of-
  law clause] in determining whether Mr. Verde is an intended third-party beneficiary . . . .”).


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         Juniper also has not shown that it is a third-party beneficiary under the language




                    Juniper has not provided evidence that Implicit had any potential claims against

  it                            based on Juniper’s status                        at that time such that

  Juniper would fall within the class of third-party beneficiaries

                Indeed, Juniper concedes in Reply that its Motion is not based on the

             See Resp., at 14; Reply, at 5.

          Juniper instead argues that another                                                  grants it

  third-party beneficiary status. Reply, at 5. But              does not mention—let alone grant—

  third-party beneficiary status. Only                mentions third-party beneficiaries, and Juniper

  does not allege that it falls under                Absent further evidence (which Juniper has not

  provided), the natural reading of the

                                          Fortis Advisors LLC v. Meds. Co., No. 2019-0236-KSJM,

  2019 Ch. LEXIS 1405, at *9 (Ch. Dec. 18, 2019) (inclusion of a specific “third-party beneficiary”

  definition excluded other). Because the Motion does not invoke                   it should be denied.

         The real-world facts of this case further reinforce that Juniper is not a third-party

  beneficiary that can step into                 It is undisputed that Juniper has not fulfilled the

  conditions precedent to enforce the            , and Juniper concedes in Reply that it is not alleging

  breach-of-contract claims. Reply, at 5. Nor is there any evidence that      is indemnifying Juniper




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  in this case or           believes that the             has been breached such that Juniper is entitled

  to enforce the                                . Juniper also admits that it received the

  in 2011 in the prior Implicit litigation, Reply, at 5, and it did not seek to transfer that case based

  on the forum-selection clause then. See Ex. A (N.D. Cal. Docket). And at least Juniper’s co-

  Defendant Fortinet alleges defenses based on the                            and it has not invoked the

  forum-selection clause. See Ex. B at 16 (Fortinet Initial Disclosures); Ex. C, at 36–37, 59–60

  (Fortinet Responses to First Set of Common Interrogatories). This evidence confirms that the

  clause does not apply.

  III.      Juniper Has Not Made a Sufficient Showing of a Dispute Regarding the


            It is not enough that a Juniper product may contain an                   to implicate the

               . The purpose of the                                            It was not to extend rights

  to third-parties that may use general-purpose                       to run their own propriety software

  where it is the operation of that propriety software that is alleged to infringe the claims. For that

  reason,




            Juniper does not answer that question. Mr. Arruda’s declaration states that the

               in some Juniper products are used “for flow-based processing.” Dkt. 165-12, Arruda

  Dec. But neither the declaration nor Juniper’s now-amended interrogatory response explains what

  they mean by “flow-based processing,” how that processing is alleged to infringe, and how that

  alleged infringement would not exist in the absence of an alleged



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         Nor does Juniper allege that Mr. Arruda has personal knowledge of what functionality the

                   actually perform in Juniper’s products (the products contain multiple integrated

  circuits). Tellingly, Juniper only asserts that Mr. Arruda has personal knowledge of the source of

  the components in Juniper’s products, Reply, at 2. But that does not answer the question of

  whether the alleged infringement would exist or not in the absence of an

  And Juniper certainly could have answered that question: its initial disclosures list individuals with

  technical knowledge of how the products at issue work. See Ex. D, at 5 (Juniper’s Am. Initial

  Disclosures). Juniper did not provide evidence from those employees. And without that type of

  evidence, Juniper cannot meet its burden to show that the

              applies to this case given the specific language of

  IV.    Juniper’s Implied License Defense Does Not Implicate the Forum-Selection Clause

         Juniper’s implied license defense does not provide a basis for transferring this case based

  on the forum-selection clause. The right Juniper believes Implicit derogated when it filed this suit

  is                                                                                       But Implicit

  does not (and did not) have that right to convey in the first place: “[A] patentee, by license or

  otherwise, cannot convey an affirmative right to practice a patented invention by way of making,

  using, selling, etc.; the patentee can only convey a freedom from suit.” TransCore, LP v. Elec.

  Transaction Consultants Corp., 563 F.3d 1271, 1275 (Fed. Cir. 2009). It is through that

                               —an express provision—that Juniper’s alleged rights flow. And it has

  not shown under the                    that the forum-selection clause applies.

  V.     Exceptional Circumstances Weigh Against Transferring This Case to Delaware

         Should the Court find that the forum-selection clause applies, it should still decline to

  transfer this case. Even under Juniper’s theory, it is undisputed that the                   does not




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  cover all of the accused products in this case (e.g., the SRX300 and SRX550 products). The

              also only applies to a subset of Implicit’s claims. The asserted Beauregard claims fall

  outside the clause’s scope because they do not recite a “processor” limitation. In this situation,

  where the forum-selection clause does not apply to all of a plaintiff’s claims, courts have

  recognized that judicial economy can warrant declining to transfer the case. Axis Oilfield Rentals,

  LLC v. Mining, Rock Excavation & Contr., LLC, No. 15-1627, 2015 U.S. Dist. LEXIS 132860, at

  *18 (E.D. La. Sep. 30, 2015). This reality provides a unique situation that weighs against transfer.

         Further, this is a consolidated action that will involve the                 regardless of the

  outcome of Juniper’s motion. That is because Fortinet has allegedly raised the                   as a

  defense and has not invoked the forum-selection clause. Transfer will thus frustrate judicial

  economy because it would result in at least two courts addressing the common contract issues.

  VI.    Implicit Respectfully Requests the Opportunity to Sever

         Should the Court conclude that transfer is still warranted, Implicit respectfully requests that

  the Court sever the asserted claims of the Juniper case that the Court concludes should be

  transferred under the                   into a new matter number and transfer only that matter to

  Delaware for adjudication. See FED. R. CIV. P. 21. This would provide Implicit the opportunity to

  proceed with its claims against Juniper that do not implicate the                   under the current

  schedule and in the current forum (as opposed to transferring the entire Juniper action, including

  the allegations that do not implicate the

  VI.    Conclusion

         For the foregoing reasons, Implicit respectfully requests that the Court denies Juniper’s

  Motion to Transfer. Implicit also respectfully requests that an oral hearing be held for this matter.




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  Date: January 6, 2020                                       Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

         The undersigned certifies that the foregoing document and all attachments thereto are being

  filed electronically in compliance with Local Rule CV-5(a). As such, this document is being served

  this January 3, 2020, on all counsel of record, each of whom is deemed to have consented to

  electronic service. L.R. CV-5(a)(3)(A).


                                                              /s/ William E. Davis, III
                                                              William E. Davis, III




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